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April 7, 2020
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VIA ECF

The Honorable Louis Sands
United States District Court
for the Middle District of Georgia
201 West Broad Avenue
Albany, Georgia 31701

Re:    Case No. 1:14-cv-42, Wright v. Sumter County Board of Elections and
       Registration

Dear Judge Sands:

   We are thinking of Albany and Dougherty County as their residents cope with an
unusually high level of outbreak of COVID-19. We hope that you and the Court staff
and your families are safe and healthy.
    We write to ask this Court to enter an order resolving Plaintiff’s Rule 59 motion. See
ECF No. 287. The Eleventh Circuit’s order of March 3, filed on this Court’s docket at
ECF No. 300, signals that Sumter County’s Eleventh Circuit appeal is suspended until
this Court resolves of Plaintiff’s Rule 59 motion. This confirms Plaintiff’s position that
this Court has jurisdiction to resolve the Rule 59 motion. See ECF No. 293 at 2–3.
Although the County respectfully submits that Plaintiff’s Rule 59 motion should be
denied on the merits (but that the Court should correct the error it identified in the
remedial plan’s district numbering), it agrees with Plaintiff’s position that the Court has
jurisdiction to resolve the motion, and the Eleventh Circuit’s recent order resolves that
matter.
    Plaintiff’s motion is now ripe for resolution. The County filed its response brief on
February 25, ECF No. 295, and the governing local rules provides that “[t]here shall be
no reply brief” on motions for reconsideration. M.D. Ga. L.R. 7.6. The County
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respectfully requests that the Court proceed to resolve the motion at its earliest
convenience, so that proceedings can proceed promptly in the Eleventh Circuit.


Sincerely,

/s/ Katherine L. McKnight



Katherine L. McKnight
